         Case
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     Facsimile: 925.946.9912
 6
     Attorneys for Defendant
 7   HARUT KORAKOSSIAN
 8

 9                                   UNITED STATES DISTRICT COURT

10                                NORTHERN DISTRICT OF CALIFORNIA

11                                        SAN FRANCISCO DIVISION

12

13   UNITED STATES OF AMERICA,                                Case No.    CR 06-0090-MHP

14                          Plaintiff,                        [PROPOSED]
                                                              XXXXXXXX ORDER MODIFYING
                                                              CONDITIONS OF PRETRIAL
15          v.                                                RELEASE

16   HARUT KORAKOSSIAN,
       a/k/a Harry Korakossian,
17     a/k/a Harut Korakissian,
       a/k/a Harry Korakissian,
18     a/k/a Harutyun Kirakossian,
     WILSON FUNG,
19   EDWARD RIDGELL, and
     DAISY TORRES CRUZ,
20
                            Defendants.
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22
            IT IS HEREBY ORDERED that Defendant Korakossian’s application is GRANTED. The
23
     terms and conditions of pretrial release are modified so that defendant need no longer wear an
24
     electronic bracelet as long as he submits to the following additional conditions. Mr. Korakossian is
25
     hereby ordered to: (1) report to Pretrial Services twice a week by telephone, (2) report to Pretrial
26
     Services twice monthly in person; (3) provide Pretrial Services with proof of income from
27

28
     MOT. TO MODIFY CONDITION OF RELEASE
     CR 06-0090-MHP                                                                                         1
     wc-122778
        Case
      Case   3:06-cr-00090-MHP Document
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     employment as requested; and (4) remain under curfew from 9 p.m. to 6 a.m. daily.




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                      29 2006




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     Dated: September __,                     By:
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                                                         IT IS S MARILYN H. PATEL
 3                                                  HONORABLE
                                                 UNITED STATES DISTRICT COURT JUDGE




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                                                                        Judge Ja




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     MOT. TO MODIFY CONDITION OF RELEASE
     CR 06-0090-MHP                                                                                        1
     wc-122778
